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                      Exhibit H
       Suggested line for Running Header
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 1               UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF LOUISIANA
 2
 3     IN RE: OIL SPILL                 )       MDL NO. 2179
       by the OIL RIG,                  )
 4     DEEPWATER HORIZON in             )       SECTION "J"
       the GULF OF MEXICO,              )
 5     April 20, 2010                   )       JUDGE BARBIER
                                        )
 6                                      )       MAG. JUDGE
                                        )       SHUSHAN
 7
 8




14
15
                             **************
16                              VOLUME 1
                             **************
17
18
19
                  Deposition of TIM PROBERT, taken
20     at Pan-American Building, 601 Poydras
       Street, 11th Floor, New Orleans, Louisiana,
21     70130, on May 9, 2011.
22
23
24
25

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 1            A.       I do not.
 2            Q.       Okay.      Changing topics.            You
 3     also testified earlier today that in
 4     preparation for your testimony before
 5     Congress in May of 2010, you were provided
 6     information from technical advisors or
 7     technical employees within Halliburton so
 8     that you could testify before Congress.                       Is
 9     that accurate?
10            A.       That's accurate.
11            Q.       Okay.      And I believe you
12     indicated that you spoke with Tommy Roth --
13     or Tommy Roth was one of those individuals
14     that assisted you in preparing for your
15     testimony.        Is that accurate?
16            A.       He was, yes.
17            Q.       Is there anyone else from
18     Halliburton that assisted you to prepare
19     for that testimony?
20            A.       Yes, I think there were probably
21     a couple of additional individuals.
22     Anthony Badalamente and Ronnie Faul, I
23     think, were two individuals that I met with
24     in addition with Tommy during the
25     preparation process.

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